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 9

10

11                              IN THE UNITED STATES DISTRICT COURT

12                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14 UNITED STATES OF AMERICA,                           CASE NO. CR 16-519- LHK

15               Plaintiff,                            DEFENDANT’S PROPOSED FINAL
                                                       JURY INSTRUCTIONS
16          v.

17 JOHN WOLFENBARGER                                   Status Hearing:        June 30, 2021
                                                       Trial Date:            August 6, 2021
18               Defendant.

19                                                     Honorable Lucy H. Koh

20
             Defendant John Wolfenbarger, by and through his counsel, submits the following proposed
21
     Final Jury Instructions. Pursuant to Federal Rule of Criminal Procedure 30, Mr. Wolfenbarger
22
     requests the Court to instruct the jury on the law as set forth below. Mr. Wolfenbarger reserves
23
     the right to submit any limiting instructions, based upon the Court’s evidentiary rulings at the
24
     pretrial conference or at trial.
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28                                                      1
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1          Mr. Wolfenbarger also reserves the right to submit any additional proposed instructions,

 2 including his theory of the defense instructions, at the close of evidence.

 3

 4 Dated: July 15, 2021                           Respectfully submitted,

 5                                                GEOFFREY HANSEN
                                                  Acting Federal Public Defender
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 7                                                             /S
 8                                                SEVERA KEITH
                                                  GRAHAM ARCHER
 9                                                Assistant Federal Public Defender

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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1                                           INTRODUCTION

 2          Mr. Wolfenbarger requests that the indictment not be sent to the jury room. See Ninth

 3 Circuit Jury Procedure Manual, § 4.6 (“the Committee believes that great caution should be

 4 exercised in providing the jury with the indictment since it is frequently cast in highly prejudicial

 5 language.”) (“The trail judge has wide discretion as to whether the jury should be provided with a

 6 copy of the indictment for use during jury deliberations.”)

 7          The defense joins in the Government’s requests for the following Model Jury Instructions:

 8                   3.1     Duties of Jury to Find Facts and Follow Law
 9                   3.5     Reasonable Doubt—Defined
10                   3.6     What Is Evidence
11                   3.7     What Is Not Evidence
12                   3.8     Direct and Circumstantial Evidence
13                   3.9     Credibility of Witnesses
14                   3.10    Activities Not Charged
15                   3.11    Separate Consideration of Multiple Counts
16                   3:18    On or About Defined
17                   4.1     Statements by Defendant (if applicable)
18                   4.3     Other Crimes, Wrongs or Acts of Defendant (if applicable)

19                   4.4     Character of Defendant (if applicable)

20                   4.8     Impeachment Evidence - Witness

21                   4.14    Opinion Evidence, Expert Witness (if applicable)

22                   4.16    Charts and Summaries Not Received in Evidence

23                   4.17    Charts and Summaries in Evidence

24                   5.7     Knowingly

25                   7.2     Consideration of Evidence

26                   7.3     Use of Notes

27                   7.4     Jury Consideration of Punishment

28                                                      3
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 1                   7.5      Verdict Form

 2                   7.6      Communication with Court.

 3                             The defense objects to any non-structural note sent by the jury being read

 4                            to counsel during trial, before deliberations. Specifically, the defense will

 5                            object to any questions during trial asking for factual clarification or

 6                            further elaboration on any factual issue. The defense has no objection to

 7                            jury notes during the trial, and before deliberations, relating to the

 8                            structure of the trial and jury – such as a sleeping juror, or attorney
 9                            contact with a juror. The defense also has no objection to counsel being
10                            made aware of jury notes during deliberations.
11                   7.13     Post-Discharge Instruction
12

13          Mr. Wolfenbarger additionally requests the following Ninth Circuit Model Instructions
14 (2010 edition, last updated 12/2020) and additional Proposed Instructions at the conclusion of the

15 trial. Mr. Wolfenbarger will propose his theory of defense instructions at the conclusion of

16 evidence. He reserves the right to propose additional instructions at that time.

17

18                         DEFENSE ADDITIONAL PROPOSED INSTRUCTIONS

19
                     Model
20                   Instruction
21                   No.
                     3.2      Charge Against Defendant Not Evidence--Presumption of Innocence--
22
                              Burden of Proof (2010 edition, 12/2020 update)
23
                     3.3      Defendant’s Decision Not to Testify (modified, Proposed Instruction 3)
24
                     3.4      Defendant’s Decision to Testify (modified, Proposed Instruction 4)
25
                     3.15     Possession - Defined
26
                     4.15     Dual Role Testimony (if applicable)
27

28                                                      4
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1                   7.1      Duty to Deliberate

 2                   8.182A Sexual Exploitation of Child-Transportation of Visual Depiction Into

 3                            United States (modified, Proposed Instruction 5) 1

 4                   8.144    Sexual Exploitation of Child—Transportation of Child Pornography

 5                            (modified, Proposed Instruction 6)

 6                   8.192A Using or Attempting to Use the Mail or a Means of Interstate Commerce

 7                            to Persuade or Coerce a Minor to Travel to Engage in Prostitution or

 8                            Sexual Activity (modified, Proposed Instruction 7) 2
 9                   Proposed Instruction 8, Attempted Coercion and Enticement, 18 U.S.C. § 2242(b)
10
                     Proposed Instruction 9, Sexual Exploitation Of Child - Receipt of Child
11                                         Pornography - 18 U.S.C. § 2252(a)(2)

12                   Proposed Instruction 10, Interstate Commerce Defined
13
                     Proposed Instruction 11, Producing – Defined
14
                     Proposed Instruction 12, Transported – Defined
15
                     Proposed Instruction 13, Visual Depiction – Defined
16

17                   Proposed Instruction 14, Minor – Defined

18                   Proposed Instruction 15, Sexually Explicit Conduct – Defined

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            1
26              Title modified in Model Instruction to: “Attempted Production of Child Pornography”
            2
             The title of this instruction should be modified to: “Attempted Coercion and Enticement
27
     of Minors.”
28                                                     5
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1                               DEFENSE PROPOSED INSTRUCTIONS

 2

 3 MODEL INSTRUCTION 3.2

 4           Charge Against Defendant Not Evidence--Presumption of Innocence--Burden of

 5           Proof

 6           The indictment is not evidence. The defendant has pleaded not guilty to the charges. The

 7 defendant is presumed to be innocent unless and until the government proves the defendant guilty

 8 beyond a reasonable doubt. In addition, the defendant does not have to testify or present any
 9 evidence. The defendant does not have to prove innocence; the government has the burden of

10 proving every element of the charge[s] beyond a reasonable doubt.

11

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16 Argument: The defense requests that this newest version of this Instruction be given to the Jury.

17 The government proposes an earlier version of this instruction.

18

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22 Authority: NINTH CIRCUIT MODEL JURY INSTRUCTION, 3.2 (2010 edition, 12/2020

23 update)

24
     Given ___
25

26 Rejected ___
   Given, As Modified_______
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 MODEL INSTRUCTION 3.3 (modified)

 2 DEFENSE PROPOSED INSTRUCTION NO. 3

 3           Defendant’s Choice Not to Testify or Present Evidence

 4           The defendant did not testify (or present evidence) in this case. In a criminal case, a defendant
 5
     has a constitutional right not to testify or to present any evidence. The burden of proof remains with
 6
     the government throughout the entire trial and never shifts to the defendant. The defendant is never
 7
     required to prove that he is innocent. You must not attach any significance to the fact that the
 8
 9 defendant did not testify. You must not draw any adverse inference against him because he did not

10 take the witness stand. Do not consider, for any reason at all, the fact that he did not testify. Do not

11 discuss that fact during your deliberations or let it influence your decision in any way.

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     Argument: These modification are supported by the law cited below.
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20

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22 Authority: United States v. Castaneda, 94 F.3d 592, 596 (9th Cir. 1996); Carter v. Kentucky, 450 U.S.
   288 (1981); Shults v. Whitley, 982 F.2d 361 (9th Cir. 1992);
23
   NINTH CIRCUIT MODEL JURY INSTRUCTION, 3.3 (2010) (MODIFIED)
24

25 Given __

26
     Rejected ___
27
     Given, As Modified
28                                                        7
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 4

 2 MODEL INSTRUCTION 3.4 (modified)

 3         Defendant’s Testimony

 4         The defendant has testified. You should treat his testimony just as you would the testimony

 5 of any other witness. You should not disregard or disbelieve his testimony simply because he is

 6 charged as a defendant in this case.

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23 Authority: NINTH CIRCUIT MODEL JURY INSTRUCTION, 3.4 (2010) (modified)

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     Given ___
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26 Rejected ___
   Given, As Modified __
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1
     MODEL INSTRUCTION 3.15
 2
               Possession—Defined
 3
               A person has possession of something if the person knows of its presence and has physical
 4
     control of it, or knows of its presence and has the power and intention to control it.
 5

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22
     Authority: NINTH CIRCUIT MODEL JURY INSTRUCTION, 3.15 (2010 edition, 12/2020
23
     update)
24

25 Given ___

26
     Rejected ___
27
     Given, As Modified_______
28                                                      9
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 MODEL INSTRUCTION 4.15

 2             Dual Role Testimony
 3
               You have heard testimony from [name] who testified to both facts and opinions and the
 4
     reasons for her or his opinions.
 5
               Fact testimony is based on what the witness saw, heard or did. Opinion testimony is based
 6
     on the education or experience of the witness.
 7
               As to the testimony about facts, it is your job to decide which testimony to believe and
 8
     which testimony not to believe. You may believe everything a witness says, or part of it, or none
 9
     of it. Take into account the factors discussed earlier in these instructions that were provided to
10
     assist you in weighing the credibility of witnesses.
11
               As to the testimony about the witness's opinions, this opinion testimony is allowed because
12
     of the education or experience of this witness. Opinion testimony should be judged like any other
13
     testimony. You may accept all of it, part of it, or none of it. You should give it as much weight as
14
     you think it deserves, considering the witness's education and experience, the reasons given for the
15
     opinion, and all the other evidence in the case.
16

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     Authority: NINTH CIRCUIT MODEL JURY INSTRUCTION, 4.15 (2010 edition, 12/2020
23
     update)
24

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     Given ___
26
     Rejected ___
27
     Given, As Modified_______
28                                                       10
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 MODEL INSTRUCTION 7.1

 2             Duty to Deliberate

 3           When you begin your deliberations, elect one member of the jury as your foreperson who
     will preside over the deliberations and speak for you here in court.
 4
           You will then discuss the case with your fellow jurors to reach agreement if you can do
 5
     so. Your verdict, whether guilty or not guilty, must be unanimous.
 6
           Each of you must decide the case for yourself, but you should do so only after you have
 7 considered all the evidence, discussed it fully with the other jurors, and listened to the views of
   your fellow jurors.
 8
 9          Do not be afraid to change your opinion if the discussion persuades you that you should.
     But do not come to a decision simply because other jurors think it is right.
10
           It is important that you attempt to reach a unanimous verdict but, of course, only if each of
11 you can do so after having made your own conscientious decision. Do not change an honest belief
   about the weight and effect of the evidence simply to reach a verdict.
12

13         Perform these duties fairly and impartially. Do not allow personal likes or dislikes,
   sympathy, prejudice, fear, or public opinion to influence you. You should also not be influenced
14 by any person’s race, color, religious beliefs, national ancestry, sexual orientation, gender identity,
   gender, or economic circumstances. Also, do not allow yourself to be influenced by personal likes
15 or dislikes, sympathy, prejudice, fear, public opinion, or biases, including unconscious
   biases. Unconscious biases are stereotypes, attitudes, or preferences that people may consciously
16
   reject but may be expressed without conscious awareness, control, or intention.
17
           It is your duty as jurors to consult with one another and to deliberate with one another with
18 a view towards reaching an agreement if you can do so. During your deliberations, you should not
   hesitate to reexamine your own views and change your opinion if you become persuaded that it is
19 wrong.

20
     Argument: The defense requests that the jury receives this instruction with the same paragraph
21
     structure as in the Model Rules.
22
     Authority: NINTH CIRCUIT MODEL JURY INSTRUCTION, 7.1 (2010 edition, 12/2020
23
     update)
24

25
     Given ___
26
     Rejected ___
27
     Given, As Modified_______
28                                                     11
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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     DEFENSE PROPOSED INSTRUCTION NO. 5
 1

 2          Attempted Production of Child Pornography– 18 U.S.C. §§ 2251(c) and (e)

 3          The defendant is charged in Count One the indictment with attempted production of child

 4 pornography, in violation of Section 2251(c) and (e) of Title 18 of the United States Code. In

 5
     order for the defendant to be found guilty of that charge, the government must prove each of the
 6
     following elements beyond a reasonable doubt:
 7
            First, the defendant intentionally employed, used, persuaded, induced, enticed, and coerced
 8
     the [name of child] to engage in sexually explicit conduct outside of the United States, its
 9

10 territories, or possessions, for the purpose of producing a visual depiction of such conduct.

11          Second, at the time, the [name of child] was under the age of eighteen years.
12          Third, the defendant intended that the visual depiction would be mailed or transported into
13
     the United States, its territories, or possessions by any means, including by using any means or
14
     facility of interstate commerce or mail.
15
            Fourth, the defendant did something that was a substantial step toward committing the
16

17 crime and that strongly corroborated the defendant’s intent to commit the crime.

18          Mere preparation is not a substantial step toward committing the crime. To constitute a

19 substantial step, a defendant’s act or actions must unequivocally demonstrate that the crime will

20 take place unless interrupted by independent circumstances

21
            A minor means any person under the age of 18 years.
22
   Authority: "Sexually explicit conduct" is defined in 18 U.S.C. § 2256(2). "Producing" is defined in
23 18 U.S.C. § 2256(3). "Visual depiction" is defined in 18 U.S.C. § 2256(5).
   NINTH CIRCUIT MODEL JURY INSTRUCTION, 8.182A (2010) (MODIFIED)
24

25 Given ___

26 Rejected ___

27 Given, As Modified ____

28                                                     12
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
     CR 16-519 LHK
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     DEFENSE PROPOSED INSTRUCTION NO. 6
 1
               Count One - Intent Required
 2
               To obtain a conviction on Count One, the government must prove that the defendant
 3

 4 intended to produce and transport a visual depiction of a minor engaged in sexually explicit

 5 conduct to the United States.

 6             A person acts with a specific intent if he acts with the intent that his action causes a certain
 7
     result.
 8
               Intent to transmit a live visual depiction does not constitute intent to transport a visual
 9
     depiction.
10
     Argument and Authority:
11
               Compare 18 U.S.C. § 2251(a) (listing separate offenses of “producing any visual
12
     depiction” and “transmitting a live visual depiction”) with 18 U.S.C. § 2251(c) (listing only
13
     offense of “producing any visual depiction”); see Pub.L. 110-401, Title III, §§ 301, 302
14 (amending 18 U.S.C. § 2251(a) and (b) to insert “or for the purpose of transmitting a live visual

15 depiction of such conduct” and to insert “or transmitted,” but making no similar amendment to 18

16 U.S.C. § 2251(c)); United States v. Palomino-Coronado, 805 F.3d 127 (4th Cir. 2015) (finding

17 evidence insufficient to support conviction under 18 U.S.C. § 2251(a), where defendant was
   convicted of knowingly employing, using, persuading, inducing, enticing, or coercing a minor in
18
   sexually explicit conduct, for the purpose of producing a visual depiction of that conduct, and “the
19
   evidence produced at trial does not support the conclusion that Palomino-Coronado engaged in
20 sexual activity with B.H. for the purpose of producing a picture”); United States v. Kokayi, 2019

21 WL 2997384, *3 (E.D. Va. 2019) (distinguishing Palomino-Coronado where defendant was found

22 guilty of transmitting live visual depiction, which is the “second prong” of § 2251(a), and “which

23 was not at issue in Palomino-Coronado”).

24

25 Given ___

26 Rejected ___

27 Given, As Modified ____

28                                                        13
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 7

 2           Count One - Purpose Required

 3           To obtain a conviction on Count One, the government must prove that the defendant acted

 4 for the purpose of producing a visual depiction of sexually explicit conduct outside the United

 5 States.

 6           A person acts with a specific purpose if he acts with the intent that his action causes a

 7 certain result.

 8           Acting for the purpose of transmitting a live visual depiction does not constitute acting for
 9 the purpose of producing a visual depiction.

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   Authority: Compare 18 U.S.C. § 2251(a) (listing separate offenses of “producing any visual
15 depiction” and “transmitting a live visual depiction”) with 18 U.S.C. § 2251(c) (listing only

16 offense of “producing any visual depiction”); see Pub.L. 110-401, Title III, §§ 301, 302
   (amending 18 U.S.C. § 2251(a) and (b) to insert “or for the purpose of transmitting a live visual
17 depiction of such conduct” and to insert “or transmitted,” but making no similar amendment to 18
   U.S.C. § 2251(c)); United States v. Palomino-Coronado, 805 F.3d 127 (4th Cir. 2015) (finding
18 evidence insufficient to support conviction under 18 U.S.C. § 2251(a), where defendant was
   convicted of knowingly employing, using, persuading, inducing, enticing, or coercing a minor in
19
   sexually explicit conduct, for the purpose of producing a visual depiction of that conduct, and “the
20 evidence produced at trial does not support the conclusion that Palomino-Coronado engaged in
   sexual activity with B.H. for the purpose of producing a picture”); United States v. Kokayi, 2019
21 WL 2997384, *3 (E.D. Va. 2019) (distinguishing Palomino-Coronado where defendant was found
   guilty of transmitting live visual depiction, which is the “second prong” of § 2251(a), and “which
22 was not at issue in Palomino-Coronado”).

23

24
     Given ___
25
     Rejected ___
26
     Given, As Modified ____
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 8

 2          Attempted Coercion and Enticement - 18 U.S.C. § 2242(b)
 3
           The defendant is charged in Count Two of the indictment with Coercion and Enticement of
 4 a Minor in violation of Section 2422(b) of Title 18 of the United States Code. In order for the
   defendant to be found guilty of that charge the government must prove beyond a reasonable doubt:
 5
           First, that between November, 2013 and January 2014, the defendant attempted to use the
 6
   mail and a means or facility of interstate and foreign commerce, that is [insert means or facility of
 7 interstate or foreign commerce]], to knowingly persuade, induce, entice, and coerce an individual
   under the age of 18 to engage in sexual activity for which someone could be charged with an
 8 offense, that is [insert title of sexual offense]]; and 3
 9          Second, the individual defendant attempted to persuade, induce, entice, and coerce and
     individual who was under the age of 18; and
10

11          Third, the defendant did something that was a substantial step toward committing the
     crime and that strongly corroborated the defendant’s intent to commit the crime.
12
           Mere preparation is not a substantial step toward committing the crime. To constitute a
13 substantial step, a defendant’s act or actions must unequivocally demonstrate that the crime will

14 take place unless interrupted by independent circumstances.

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   Authority: Exhibits A-G, Model Jury Instructions; United States v. X-Citement Video, 513 U.S.
19 64, 76 (1994); United States v. U.S. Dist. Court for Cent. Dist. of Cal., L.A. 858 F.2d 534, 538
   (9th Cir. 1988) "Sexually explicit conduct" is defined in 18 U.S.C. § 2256(2). "Producing" is
20 defined in 18 U.S.C. § 2256(3). "Visual depiction" is defined in 18 U.S.C. § 2256(5).

21

22 Given ___

23 Rejected ___

24 Given, As Modified ____

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            3
               The government must identify the means of interstate or foreign commerce and a specific
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     statute for which someone could be charged.
28                                                   15
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 9

 2       Sexual Exploitation Of Child - Receipt of Child Pornography - 18 U.S.C. § 2252(a)(2)
 3
           The defendant is charged in Count Three of the indictment with receiving child
 4 pornography in violation of Section 2252(a)(2) of Title 18 of the United States Code. In order for
   the defendant to be found guilty of that charge, the government must prove each of the following
 5 elements beyond a reasonable doubt:

 6
           First, that the defendant knowingly received a visual depiction that had been transported in
 7 interstate and foreign commerce;

 8          Second, that the production of such visual depiction involved the use of a minor engaging
     in sexually explicit conduct;
 9
            Third, that such visual depiction was of a minor engaged in sexually explicit conduct;
10

11         Fourth, that the defendant knew that such visual depiction was of sexually explicit
     conduct; and
12
         Fifth, the defendant knew that at least one of the persons engaged in sexually explicit
13 conduct in such visual depiction was a minor.

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20 Authority: Comment to Model Instruction 8.184, “Although the term ‘knowingly’ in the text of 18
   U.S.C. § 2252(a)(1) and (2) appears only to modify the act of transportation or shipment, the
21
   United States Supreme Court has held that the knowledge requirement also applies to the sexually
22 explicit nature of the material as well as the minority status of the persons depicted. See United
   States v. X–Citement Video, Inc., 513 U.S. 64, 78 (1994).”
23
   Given ___
24
   Rejected ___
25

26 Given, As Modified ____

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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 10

 2          Interstate Commerce Defined

 3          The term “interstate commerce” means commerce between any State or Territory and any

 4 place outside of that State or Territory.

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21 21 U.S.C. § 321(b).

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23 Given ___

24 Rejected ___

25 Given, As Modified ____

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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 11

 2          Producing – Defined

 3          As used in Count One, “producing” means producing, directing, manufacturing, issuing,

 4 publishing, or advertising.

 5          Transmitting a live visual depiction does not constitute “producing.”

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19 Authority: 18 U.S.C. § 2256(3); compare 18 U.S.C. § 2251(a) (listing separate offenses of
   “producing any visual depiction” and “transmitting a live visual depiction”) with 18 U.S.C. §
20 2251(c) (listing only offense of “producing any visual depiction”); see Pub.L. 110-401, Title III,
   §§ 301, 302 (amending 18 U.S.C. § 2251(a) and (b) to insert “or for the purpose of transmitting a
21
   live visual depiction of such conduct” and to insert “or transmitted,” but making no similar
22 amendment    to 18 U.S.C. § 2251(c)).

23
     Given ___
24
     Rejected ___
25

26 Given, As Modified ____

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28                                                   18
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 12

 2          Transported – Defined

 3          As used in Count One, “transported” means transportation by any means, including by

 4 using any means or facility of interstate or foreign commerce or mail.

 5          The word “transported” does not mean transmission of a live visual depiction.

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20 Authority: 18 U.S.C. § 2256(3); compare 18 U.S.C. § 2251(a) (listing separate offenses for
   depictions that were “transported” or “transmitted”) with 18 U.S.C. § 2251(c) (listing only
21 “transports”); see Pub.L. 110-401, Title III, §§ 301, 302 (amending 18 U.S.C. § 2251(a) and (b) to
   insert “or for the purpose of transmitting a live visual depiction of such conduct” and to insert “or
22 transmitted,” but making no similar amendment to 18 U.S.C. § 2251(c)).

23

24 Given ___

25 Rejected ___

26 Given, As Modified ____

27

28                                                   19
     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 13

 2
            Visual Depiction – Defined
 3
            “Visual depiction” includes undeveloped film and videotape, and data stored on computer
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     disk or by electronic means which is capable of conversion into a visual image.
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21 Authority: 18 U.S.C. § 2251(a); 18 U.S.C. § 2251(c); 18 U.S.C. § 2256(5) (modified to delete
   “and data which is capable of conversion into a visual image that has been transmitted by any
22 means, whether or not stored in a permanent format,” because § 2251(c) does not encompass
   transmission of live visual depictions).
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24 Given ___

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     Rejected ___
26
     Given, As Modified ____
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 14

 2          Minor – Defined

 3          “Minor” means any person under the age of eighteen years.

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22 Authority: 18 U.S.C. § 2256(1).

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     Given ___
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     Given, As Modified ____
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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 1 DEFENSE PROPOSED INSTRUCTION NO. 15

 2             Sexually Explicit Conduct – Defined

 3
               "Sexually explicit conduct" means actual or simulated sexual intercourse, including
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     genital-genital, oral-genital, anal-genital, or oral-anal, whether between persons of the same or
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     opposite sex; masturbation; or lascivious exhibition of the anus, genitals, or pubic area of any
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     person.
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23 Authority: 18 U.S.C. § 2256(2)

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26 Rejected ___

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     Given, As Modified ____
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     DEFENDANT’S PROPOSED JURY INSTRUCTIONS
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